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                              UNITED STATES DISTRICT COURT FOR
                                THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     )

               v.                            )       CR. NO. 21-205 (DLF)

PATRICIA TODISCO                             )


                              UNOPPOSED MOTION FOR TRAVEL

       Patricia Todisco, through undersigned counsel, respectfully moves this Honorable Court

to permit her travel to from Florida to New Jersey and states as follows:

   1) Ms. Todisco was sentenced to 36 months’ probation on July 12, 2022.

   2) She resides and works in Florida and her probation has been transferred to the Southern

       District of Florida.

   3) Ms. Todisco wishes to visit her mother, who lives in New Jersey, from July 16th to July

       20th. Ms. Todisco is originally from New Jersey.

   4) The government does not oppose this motion.

                                             Respectfully Submitted,

                                             A.J. KRAMER
                                             FEDERAL PUBLIC DEFENDER

                                             ____/s/________________
                                             Ubong E. Akpan
                                             Assistant Federal Public Defender
                                             625 Indiana Ave., N.W.
                                             Washington, D.C. 20004
                                             (202) 208-7500
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                                CERTIFICATE OF SERVICE


       I, Ubong E. Akpan, certify that on this 13th day of July 2022, I caused a copy of the

foregoing Unopposed Motion to be filed through the Electronic Case Filing (“ECF”) system and

served a copy on counsel for the government via email.




                                                        /s/_________________
                                             Ubong E. Akpan
                                             Assistant Federal Public Defender
